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                                   U.S. District Court
                      California Northern District (San Francisco)
                    CIVIL DOCKET FOR CASE #: 3:20−cv−05624−VC

Webb v. Monsanto Company                                       Date Filed: 08/13/2020
Assigned to: Judge Vince Chhabria                              Jury Demand: None
Lead case: 3:16−md−02741−VC                                    Nature of Suit: 365 Personal Inj. Prod.
Member case: (View Member Case)                                Liability
Case in other court: Iowa Northern, 3:20−cv−03032              Jurisdiction: Diversity
Cause: 28:1441 Petition for Removal− Product Liability
Plaintiff
Brian Webb                                      represented by James H. Cook
                                                               Dutton, Daniels, Hines, Kalkhoff, Cook &
                                                               Swanson, PLC
                                                               3151 Brockway Road
                                                               Waterloo, IA 50701
                                                               319−234−4471
                                                               Email: jcook@duttonfirm.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Darren P McDowell
                                                               Fears Nachawati Law Firm
                                                               5473 Blair Road
                                                               NOT ADMITTED
                                                               Dallas, TX 75231
                                                               214−890−0711
                                                               Fax: 214−890−0712
                                                               Email: dmcdowell@fnlawfirm.com


V.
Defendant
Monsanto Company                                represented by Jason M Craig
                                                               Ahlers & Cooney, P.C.
                                                               100 Court Ave
                                                               Suite 600
                                                               ***ECF
                                                               Des Moines, IA 50309
                                                               515 246 0372
                                                               Email: jcraig@ahlerslaw.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


 Date Filed     #   Docket Text
 07/24/2020      1 NOTICE of Removal from Iowa District Court for Webster County, case number
                   LACV321021. ( Filing fee $ 400 receipt number AIANDC−3253778), filed by
                   Monsanto Company. Scheduling Report due by 9/22/2020 (Attachments: # 1 Local
                   Rule 81(a) Removal Information, # 2 Civil Cover Sheet, # 3 Exhibit 1 (State Court
                   Dismissals)) (Craig, Jason) (Entered: 07/24/2020)
 07/24/2020      2 ANSWER With Jury Demand to Complaint by Monsanto Company.(Craig, Jason)
                   (Entered: 07/24/2020)
 07/24/2020      3 CORPORATE Disclosure Statement by Monsanto Company identifying Corporate
                   Parent Bayer AG for Monsanto Company. (Craig, Jason) (Entered: 07/24/2020)
 07/24/2020         Case Assigned to Judge Linda R Reade and Chief Magistrate Judge Kelly K.E.
                    Mahoney. No conflicts identified. (kms) (Entered: 07/24/2020)
                                                                                                EXHIBIT
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07/24/2020   4 STATE Court Petition With Jury Demand by Brian Webb. (kms) (Entered:
               07/24/2020)
07/24/2020   5 DOCKET Annotation: Please find Civil Removal Actions new case packet attached.
               (kms) (Entered: 07/24/2020)
07/24/2020      Set Deadlines: Defendant LR 7.1 Disclosure Statement due by 8/14/2020. (kms)
                (Entered: 07/24/2020)
07/24/2020   6 NOTICE to Attorneys Not Admitted to Practice in the Northern District of Iowa.
               (kms) (Entered: 07/24/2020)
08/10/2020   7 CERTIFIED CONDITIONAL TRANSFER ORDER (CTO−226) MDL No. 2741.
               This action is transferred to USDC Northern District of California and assigned to the
               Honorable Vince Chhabria. Signed by John W Nichols, Clerk of the Panel, on
               8/10/2020. (Case electronically transferred to Northern District of California) (des)
               (Entered: 08/10/2020)
08/13/2020      MEMBER CASE OPENED MDL 2741: Northern District of Iowa (Central Division),
                3:20−cv−03032−LRR−KEM, Webb v. Monsanto Company, Opened in California
                Northern District as 3:20−cv−5624−VC pursuant to Conditional Transfer Order 226
                cc: JPMDL (elyS, COURT STAFF) (Filed on 8/13/2020) Modified on 8/17/2020
                (elyS, COURT STAFF). (Entered: 08/17/2020)
08/17/2020   8 Case transferred in from District of Iowa Northern; Case Number 3:20−cv−03032.
               Original file certified copy of transfer order and docket sheet received. (Entered:
               08/17/2020)
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         IN THE IOWA DISTRICT COURT IN AND FOR WEBSTER COUNTY

  BRIAN WEBB,                                                     3:20-cv-03032-LRR-KEM
         Plaintiff,                                       Case No.
  v.

  MONSANTO COMPANY; VALERO                                PETITION AT LAW AND
  ENERGY CORPORATION; HOME                                DEMAND FOR JURY TRIAL
  DEPOT U.S.A., INC.; LOWE’S HOME
  CENTERS, LLC; MYCENAEAN
  SHIELD, LLC; CHIEF ETHANOL
  FUELS, INC.; CARGILL, INC.;
  VALERO RENEWABLE FUELS
  COMPANY, LLC; PINE LAKE CORN
  PROCESSORS, L.L.C.,

         Defendants.

       COMES NOW Plaintiff BRIAN WEBB and hereby brings this action against Defendants

Monsanto Company, Valero Energy Corporation, Home Depot U.S.A., Inc., Lowe’s Home

Centers, LLC, Mycenaean Shield, LLC, Chief Ethanol Fuels, Inc., Cargill, Inc., Valero Renewable

Fuels Company, LLC, and Pine Lake Corn Processors, L.L.C., as follows:

                                      INTRODUCTION

       Plaintiff brings this cause of action against Defendants for injuries and/or death sustained

as a result of using Defendant Monsanto Company’s (“Monsanto”) unreasonably dangerous and

defective product, Roundup® and various Roundup containing by-products, including Round Up

Ready Corn, Corn Stover, and Ready Corn Mash, while a Contractor Millwright at various other

Defendants’ properties. More specifically, Plaintiff’s claims involve Defendant’s negligent,

willful, and wrongful conduct in connection with the design, development, manufacture, testing,

packaging, promoting, marketing, distribution, and/or sale of Roundup® and/or other Monsanto

glyphosate-containing products (“Roundup” or “Roundup®”). As a direct and proximate result of

their exposure to Roundup® and its reactive ingredient, glyphosate, Plaintiff developed non-


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Hodgkin’s Lymphoma.

                         THE PARTIES, JURISDICTION, AND VENUE
                                               Plaintiff
         1.       Plaintiff Brian Webb is a resident of Omaha, Nebraska. As a Contractor Millwright,

Mr. Webb was exposed to Round Up Ready Corn, Corn Stover, and Ready Corn Mash, from 2008-

2018 at various facilities in and around Iowa, and was subsequently diagnosed with non-Hodgkin's

Lymphoma in 2016.

                                             Defendants

         2.          Upon information and belief, Defendant, Monsanto Company (“Monsanto”) is

a multinational agricultural biotechnology corporation based in St. Louis, Missouri, and

incorporated in Delaware. Monsanto may be served with process via its registered agent,

Corporation Service Company, 505 5th Avenue, Des Moines, Iowa 50309.

         3.          Defendant Valero Energy Corporation is incorporated in Delaware and

maintains its principle place of business in Delaware. It may be served with process via Iowa’s

long-arm statute by both serving (1) the Iowa Secretary of State and (2) its registered agent, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange St., Wilmington, Delaware

19801.

         4.          Defendant HOME DEPOT U.S.A., INC., is a foreign corporation that, at all

relevant times, was and is doing business in the state of South Carolina. It is incorporated in the

state of Delaware and maintains its principle place of business in Georgia. It may be served with

process via its registered agent at 1703 Laurel Street, Columbia, South Carolina 29201.

         5.          Defendant LOWE’S HOME CENTERS, LLC is a foreign corporation that, at

all relevant times, was and is doing business in the state of South Carolina. It is incorporated in the

state of North Carolina and maintains its principle place of business in North Carolina. It may be


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served with process via its registered agent at 1703 Laurel Street, Columbia, South Carolina 29201.

       6.          Defendant Mycenaean Shield, LLC is incorporated in Delaware and maintains

its principle place of business in Illinois. It may be served with process via It may be served with

process via Iowa’s long-arm statute by both serving (1) the Iowa Secretary of State and (2) its

registered agent, Mark Tibbetts at 5959 S. Harlem Ave, Chicago, Illinois 60638.

       7.          Defendant Chief Ethanol Fuels, Inc. is incorporated in Delaware and maintains

its principle place of business in Nebraska. It may be served with process via Iowa’s long-arm

statute by both serving (1) the Iowa Secretary of State and (2) its registered agent, Barbara Saladen

at 3942 West Old Highway 30, P.O. Box 2078, Grand Island, Nebraska 68802.

       8.          Defendant Cargill, Inc. is incorporated in Delaware and maintains its principle

place of business in Minnesota. It may be served with process via its registered agent, CT

Corporation Systems, at 400 E Court Ave, Des Moines, Iowa 50309.

       9.          Valero Renewable Fuels Company, LLC is incorporated in the State of Texas

and maintains its principle place of business in Texas. It may be served with process via its

registered agent, CT Corporation Systems, at 400 E Court Ave, Des Moines, Iowa 50309.

       10.         Pine Lake Corn Processors, L.L.C. is incorporated in Iowa and maintains its

principle place of business in Iowa. It may be served with process via its registered agent, William

E. Hanigan, at 215 10th Street, Suite 1300, Des Moines, Iowa 50309.

       11.         Each defendant either maintains a principle place of business within the State of

Iowa or maintains sufficient contacts with the State of Iowa such that this Court’s exercise of

personal jurisdiction over it does not offend traditional notions of fair play and substantial justice.

       12.         Venue is proper within this County because the events giving rise to this action

happened in or are closely related to this County.




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                                 NATURE OF THE ACTION

       13.     In 1970, Defendant Monsanto Company discovered the herbicidal properties of

glyphosate and began marketing it in products in 1974 under the brand name Roundup. Roundup

is a non-selective herbicide used to kill weeds that commonly compete with the growing of crops.

By 2001, glyphosate had become the most-used active ingredient in American agriculture with

85–90 millions of pounds used annually. That number grew to 185 million pounds by 2007. As of

2013, glyphosate was the world’s most widely used herbicide.

       14.     Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world’s leading producer of glyphosate. As of 2009, Monsanto was the

world’s leading producer of seeds, accounting for 27% of the world seed market. The majority of

these seeds are of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops

is that they substantially improve a farmer’s ability to control weeds, since glyphosate can be

sprayed in the fields during the growing season without harming their crops. In 2010, an estimated

70% of corn and cotton, and 90% of soybean fields in the United States were Roundup Ready®.

       15.     Monsanto’s glyphosate products are registered in 130 countries and approved for

use on over 100 different crops. They are ubiquitous in the environment. Numerous studies

confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where

Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the

urine of urban dwellers who are not in direct contact with glyphosate.

       16.     On March 20, 2015, the International Agency for Research on Cancer (“IARC”),

an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to




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glyphosate since 2001.

       17.     On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

       18.     The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other

hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

       19.     The IARC evaluation is significant. It confirms that glyphosate is toxic to humans.

       20.     Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues

to proclaim to the world, and particularly to United States consumers, that glyphosate-based

herbicides, including Roundup®, create no unreasonable risks to human health or to the

environment.

                                            FACTS

       17.        At all times relevant to this complaint, Monsanto was the entity that discovered

the herbicidal properties of glyphosate and the manufacturer of Roundup®, which contains the

active ingredient glyphosate and the surfactant POEA, as well as adjuvants and other “inert”

ingredients. Glyphosate is a broad spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.

       18.     Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.




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       19.     Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids

necessary for protein synthesis. Treated plants generally die within two to three days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by

milling, baking, or brewing grains.

       20.     For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing harm

either to people or to the environment. Of course, history has shown that not to be true. According

to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of

cancer. Those most at risk are farm workers and other individuals with workplace exposure to

Roundup®, such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was

harmless. In order to prove this, Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince government agencies, farmers, and the general population that Roundup® was safe.

       The Discovery of Glyphosate and Development of Roundup®

       20.     The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970s under the brand name Roundup®. From the outset, Monsanto marketed Roundup® as a

“safe” general-purpose herbicide for widespread commercial and consumer use; Monsanto still

markets Roundup® as safe today.




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       Registration of Herbicides under Federal Law

       21.     The manufacture, formulation and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

       22.     Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).

       23.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       24.     The EPA registered Roundup® for distribution, sale, and manufacture in the United

States and, specifically, the State of Missouri.

       25.     FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,

conducts the health and safety testing of pesticide products. The EPA has protocols governing the




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conduct of tests required for registration and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of the manufacturer.

       26.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s review and evaluation.

       27.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment —in relation to the re-registration process—no later than

July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.

       Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

       28.     Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.

After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed

its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying

glyphosate, however, the EPA made clear that the designation did not mean the chemical does not

cause cancer: “It should be emphasized, however, that designation of an agent in Group E is based

on the available evidence at the time of evaluation and should not be interpreted as a definitive

conclusion that the agent will not be a carcinogen under any circumstances.”




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       29.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup® products for registration purposes committed fraud.

       30.     In the first instance, Monsanto, in seeking initial registration of Roundup® by EPA,

hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology

studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.

       31.     In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw

data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently

audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be

invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was

“hard to believe the scientific integrity of the studies when they said they took specimens of the

uterus from male rabbits.”

       32.     Three top executives of IBT were convicted of fraud in 1983.

       33.     In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       34.     Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup® in 115 countries.

       The Importance of Roundup® to Monsanto’s Market Dominance Profits

       35.     The success of Roundup® was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s




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agriculture division was out-performing its chemicals division’s operating income, and that gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

       36.     In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers

can spray Roundup® onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

       37.     Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable product.

In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides by a

margin of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate

remains one of the world’s largest herbicides by sales volume.

       Monsanto has known for decades that it falsely advertises the safety of Roundup®

       38.     In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup ® products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were “safer than table salt” and "practically non-toxic" to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading




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about the human and environmental safety of Roundup® are the following:

                     a) Remember that environmentally friendly Roundup herbicide is

                          biodegradable. It won’t build up in the soil so you can use Roundup

                          with confidence along customers' driveways, sidewalks and fences.

                     b) And remember that Roundup is biodegradable and won't build up in the

                          soil. That will give you the environmental confidence you need to use

                          Roundup everywhere you've got a weed, brush, edging or trimming

                          problem.

                     c) Roundup biodegrades into naturally occurring elements.

                     d) Remember that versatile Roundup herbicide stays where you put it.

                          That means there’s no washing or leaching to harm customers’ shrubs

                          or other desirable vegetation.

                     e) This non-residual herbicide will not wash or leach in the soil. It ...

                          stays where you apply it.

                     f)   You can apply Accord (another glyphosate-containing Monsanto

                          herbicide) with “confidence because it will stay where you put it” it

                          bonds tightly to soil particles, preventing leaching. Then, soon after

                          application, soil microorganisms biodegrade Accord into natural

                          products.

                     g) Glyphosate is less toxic to rats than table salt following acute oral

                          ingestion.

                     h) Glyphosate’s safety margin is much greater than required. It has over a

                          1,000-fold safety margin in food and over a 700-fold safety margin for




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                           workers who manufacture it or use it.

                      i)   You can feel good about using herbicides by Monsanto. They carry a

                           toxicity category rating of 'practically non-toxic' as it pertains to

                           mammals, birds and fish.

                      j)   “Roundup can be used where kids and pets will play and breaks down

                           into natural material.” This ad depicts a person with his head in the

                           ground and a pet dog standing in an area which has been treated with

                           Roundup.

       39.     On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

                      a) its glyphosate-containing pesticide products or any component thereof

                           are safe, non-toxic, harmless or free from risk.

                      b) its glyphosate-containing pesticide products or any component thereof

                           manufactured, formulated, distributed or sold by Monsanto are

                           biodegradable.

                      c) its glyphosate-containing pesticide products or any component thereof

                           stay where they are applied under all circumstances and will not move

                           through the environment by any means.

                      d) its glyphosate-containing pesticide products or any component thereof

                           are “good” for the environment or are “known for their environmental

                           characteristics.”

                      e) glyphosate-containing pesticide products or any component thereof are




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                            safer or less toxic than common consumer products other than

                            herbicides;

                       f)   its glyphosate-containing products or any component thereof might be

                            classified as “practically non-toxic.”

       40.     Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief still has not done so today.

       41.     In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

       Classifications and Assessments of Glyphosate

       42.     The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.

       43.     The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

       44.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected, and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various




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draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings is published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

       45.     In assessing an agent, the IARC Working Group reviews the following information:

                                 a) human, experimental, and mechanistic data;

                                 b) all pertinent epidemiological studies and cancer bioassays;

                                      and

                                 c)      representative mechanistic data. The studies must be

                                      publicly available and have sufficient detail for meaningful

                                      review, and reviewers cannot be associated with the

                                      underlying study.

       46.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       47.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March meeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific




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literature” as well as “data from governmental reports that are publicly available.”

       48.       The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,

and municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farming families.

       49.       Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       50.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

       51.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

       52.       The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.

       53.       The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

       54.       In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A




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glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

        55.      The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        56.      The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.

        57.      The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

        58.      The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

        Other Earlier Findings About Glyphosate’s Dangers to Human Health

        59.      The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This technical

fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release

patterns for glyphosate as follows:

        Release Patterns




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       60.     Glyphosate is released to the environment in its use as an herbicide for controlling

woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped sites. These

sites may be around water and in wetlands. It may also be released to the environment during its

manufacture, formulation, transport, storage, disposal, and cleanup, and from spills. Since

glyphosate is not a listed chemical in the Toxics Release Inventory, data on releases during its

manufacture and handling are not available. Occupational workers and home gardeners may be

exposed to glyphosate by inhalation and dermal contact during spraying, mixing, and cleanup.

They may also be exposed by touching soil and plants to which glyphosate was applied.

Occupational exposure may also occur during glyphosate's manufacture, transport storage, and

disposal.

       61.     In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate was the third most commonly-reported cause of pesticide illness among

agricultural workers.

       Recent Worldwide Bans on Roundup®/Glyphosate

       62.     Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-containing herbicides, both before and since IARC first announced its

assessment for glyphosate in March 2015, and more countries undoubtedly will follow suit as the

dangers of the use of Roundup® are more widely known. The Netherlands issued a ban on all

glyphosate-based herbicides in April 2014, including Roundup®, which took effect by the end of

2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation

stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to private persons.

In garden centers, Roundup® is promoted as harmless, but unsuspecting customers have no idea




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what the risks of this product are. Especially children are sensitive to toxic substances and should

therefore not be exposed to it.”

       63.      The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

       64.      France banned the private sale of Roundup® and glyphosate following the IARC

assessment for Glyphosate.

       65.      Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”

       66.      The Sri Lankan government banned the private and commercial use of glyphosates,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

       67.      The government of Colombia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.

       Proposition 65 Listing

       68.      On September 4, 2015, California’s Office of Environmental Health Hazard

Assessment (“OEHHA”) published a notice of intent to include glyphosate on the state’s list of

known carcinogens under Proposition 65. 18 California’s Safe Drinking Water and Toxic

Enforcement Act of 1986 (informally known as “Proposition 65”), requires the state to maintain

and, at least, once a year, revise and republish a list of chemicals “known to the State of California

to cause cancer or reproductive toxicity.” The OEHHA determined that glyphosate met the criteria




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for the listing mechanism under the Labor Code following IARC’s assessment of the chemical.

        69.     The listing process under the Labor Code is essentially automatic. The list known

carcinogens, at a minimum, must include substances identified by reference in Labor Code

§6382(b)(1). That section of the Labor Code identifies “[s]ubstances listed as human or animal

carcinogens by the International Agency for Research on Cancer (IARC).” IARC’s classification

of glyphosate as a Group 2A chemical (“probably carcinogenic to humans”) therefore triggered

the listing.

        70.        A business that deploys a listed chemical in its products must provide “clear and

reasonable warnings” to the public prior to exposure to the chemical. To be clear and reasonable,

a warning must “(1) clearly communicate that the chemical is known to cause cancer, and/or birth

defects or other reproductive harm; and (2) effectively reach the person before exposure.” The law

also prohibits the discharge of listed chemicals into drinking water.

        71.        Monsanto disputed the listing decision and, in January 2016, filed a lawsuit

against OEHHA and the agency’s acting director, Lauren Zeise, in California state court, seeking

declaratory and injunctive relief to prevent OEHHA from listing glyphosate.

        72.        Monsanto alleged that OEHHA’s exclusive reliance on the IARC decision

signified that “OEHHA effectively elevated the determination of an ad hoc committee of an

unelected, foreign body, which answers to no United States official (let alone any California state

official), over the conclusions of its own scientific experts.” Monsanto further alleged that the

Labor Code listing mechanism presented various constitutional violations because it “effectively

empowers an unelected, undemocratic, unaccountable, and foreign body to make laws applicable

in California.” Among other things, Monsanto argued that Proposition 65’s requirement to provide

a “clear and reasonable warning” to consumers that the chemical is a known carcinogen would




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damage its reputation and violate its First Amendment rights.

       EFSA Report on Glyphosate

       73.        On November 12, 2015, the European Food Safety Authority (EFSA), the

European Union’s primary agency for food safety, reported on its evaluation of the Renewal

Assessment Report (RAR) on glyphosate. The Rapporteur Member State assigned to glyphosate,

the German Federal Institute for Risk Assessment (BfR), had produced the RAR as part of the

renewal process for glyphosate in the EU.

       74.        Based on a review of the RAR, which included data from industry submitted

unpublished studies, EFSA sent its own report (“Conclusion”) to the European Commission,

finding that “glyphosate is unlikely to pose a carcinogenic hazard to humans and the evidence does

not support classification with regard to its carcinogenic potential according to Regulation (EC)

No 1272/2008.” EFSA therefore disagreed with IARC: glyphosate was not genotoxic and did not

present a carcinogenic threat to humans.

       75.        In explaining why its results departed from IARC’s conclusion, EFSA drew a

distinction between the EU and IARC approaches to the study and classification of chemicals.

Although IARC examined “both glyphosate – an active substance – and glyphosate-based

formulations, grouping all formulations regardless of their composition,” EFSA explained that it

considered only glyphosate and that its assessment focuses on “each individual chemical, and each

marketed mixture separately.” IARC, on the other hand, “assesses generic agents, including groups

of related chemicals, as well as occupational or environmental exposure, and cultural or

behavioural practices.” EFSA accorded greater weight to studies conducted with glyphosate alone

than studies of formulated products.

       76.        EFSA went further and noted: [A]though some studies suggest that certain




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glyphosate-based formulations may be genotoxic (i.e. damaging to DNA), others that look solely

at the active substance glyphosate do not show this effect. It is likely, therefore, that the genotoxic

effects observed in some glyphosate-based formulations are related to the other constituents or

“co-formulants”. Similarly, certain glyphosate-based formulations display higher toxicity than

that of the active ingredient, presumably because of the presence of co- formulants. In its

assessment, EFSA proposes that the toxicity of each pesticide formulation and in particular its

genotoxic potential should be further considered and addressed by Member State authorities

while they reassess uses of glyphosate-based formulations in their own territories. (Emphasis

added)

         77.       Notwithstanding its conclusion, EFSA did set exposure levels for Specifically,

EFSA proposed an acceptable daily intake (ADI) of 0.5 mg/kg of body day; an acute reference

dose (ARfD) of 0.5 mg/kg of body weight; and an acceptable exposure level (AOEL) of 0.1 mg/kg

bw per day.

         Leading Scientists Dispute EFSA’s Conclusion

         78.       On November 27, 2015, 96 independent academic and governmental scientists

from around the world submitted an open letter to the EU health commissioner, Vytenis

Andriukaitis, the scientists expressed their strong concerns and urged the commissioner to

disregard the “flawed” EFSA report, arguing that “the BfR decision is not credible because it is

not supported by the evidence and it was not reached in an open and transparent manner.”

         79.       Signatories to the letter included Dr. Christopher J. Portier, Ph.D., and other

renowned international experts in the field, some of whom were part of the IARC Working Group

assigned to glyphosate.

         80.       In an exhaustive and careful examination, the scientists scrutinized EFSA’s




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conclusions and outlined why the IARC Working Group decision was “by far the more credible”:

The IARC WG decision was reached relying on open and transparent procedures by independent

scientists who completed thorough conflict-of-interest statements and were not affiliated or

financially supported in any way by the chemical manufacturing industry. It is fully referenced and

depends entirely on reports published in the open, peer-reviewed biomedical literature. It is part of

a long tradition of deeply researched and highly credible reports on the carcinogenicity of hundreds

of chemicals issued over the past four decades by IARC and used today by international agencies

and regulatory bodies around the world as a basis for risk assessment, regulation and public health

policy.

          81.       With respect to human data, the scientists pointed out that EFSA agreed with

IARC that there was “limited evidence of carcinogenicity” for non-Hodgkin lymphoma but EFSA

nonetheless dismissed an association between glyphosate exposure and carcinogenicity. IARC

applies three levels of evidence in its analyses of human data, including sufficient evidence and

limited evidence. EFSA’s ultimate conclusion that “there was no unequivocal evidence for a clear

been established. However, the scientists argued, “[l]egitimate public health concerns arise when

‘causality is credible,’ i.e., when there is limited evidence.”

          82.       Among its many other deficiencies, EFSA’s conclusions regarding animal

carcinogenicity data were “scientifically unacceptable,” particularly in BfR’s use of historical

control data and in its trend analysis. Indeed, BfR’s analysis directly contradicted the Organisation

for Economic Co-operation and Development (“OECD”) testing guidelines while citing and

purporting to follow those same guidelines. For instance, the EFSA report dismisses observed

trends in tumor incidence “because there are no individual treatment groups that are significantly

different from controls and because the maximum observed response is reportedly within the range




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of the historical control data.” However, according to the scientists, concurrent controls are

recommended over historical controls in all guidelines, scientific reports, and publications, and, if

it is employed, historical control data “should be from studies in the same timeframe, for the same

exact animal strain, preferably from the same laboratory or the same supplier and preferably

reviewed by the same pathologist.” BfR’s use of historical control data violated these precautions:

“only a single study used the same mouse strain as the historical controls, but was reported more

than 10 years after the historical control dataset was developed.” Further deviating from sound

scientific practices, the data used by the BfR came from studies in seven different laboratories.

The scientists concluded:

       BfR reported seven positive mouse studies with three studies showing increases in renal
       tumors, two with positive findings for hemangiosarcomas, and two with positive findings
       for malignant lymphomas. BfR additionally reported two positive findings for tumors in
       rats. Eliminating the inappropriate use of historical data, the unequivocal conclusion is that
       these are not negative studies, but in fact document the carcinogenicity of glyphosate in
       laboratory animals.

       83.         The letter also critiqued the EFSA report’s lack of transparency and the opacity

surrounding the data cited in the report: “citations for almost all of the references, even those from

the open scientific literature, have been redacted from the document” and “there are no authors or

contributors listed for either document, a requirement for publication in virtually all scientific

journals.” Because BfR relied on unpublished, confidential industry provided studies, it is

“impossible for any scientist not associated with BfR to review this conclusion with scientific

confidence.”

       84.         On March 3, 2016, the letter was published in the Journal of Epidemiology &

Community Health.

       85.         On February 17, 2016, a consensus statement published in the journal

Environmental Health, entitled “Concerns over use of glyphosate-based herbicides and risks



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associated with exposures: a consensus statement,” assessed the safety of glyphosate-based

herbicides (GBHs). The paper’s “focus is on the unanticipated effects arising from the worldwide

increase in use of GBHs, coupled with recent discoveries about the toxicity and human health risks

stemming from use of GBHs.” The researchers drew seven factual conclusions about GBHs:

             A.   GBHs are the most heavily applied herbicide in the world and usage continues
                  to rise;

             B.   Worldwide, GBHs often contaminate drinking water sources, precipitation, and
                  air, especially in agricultural regions;

             C.   The half-life of glyphosate in water and soil is longer than previously
                  recognized;

             D.   Glyphosate and its metabolites are widely present in the global soybean supply;

             E.   Human exposures to GBHs are rising;

             F.   Glyphosate is now authoritatively classified as a probable human carcinogen;
                  and

             G.   Regulatory estimates of tolerable daily intakes for glyphosate in the United
                  States and European Union are based on outdated science.

       86.        The researchers noted that GBH use has increased approximately 100-fold since

the 1970s. Furthermore, far from posing a limited hazard to vertebrates, as previously believed,

two decades of evidence demonstrated that “several vertebrate pathways are likely targets of

action, including hepatorenal damage, effects on nutrient balance through glyphosate chelating

action and endocrine disruption.”

       87.        The paper attributed uncertainties in current assessments of glyphosate

formulations to the fact that “[t]he full list of chemicals in most commercial GBHs is protected as

‘commercial business information,’ despite the universally accepted relevance of such information

to scientists hoping to conduct an accurate risk assessment of these herbicide formulations.”

Further, the researchers argue, “[t]he distinction in regulatory review and decision processes



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between ‘active’ and ‘inert’ ingredients has no toxicological justification, given increasing

evidence that several so-called ‘inert’ adjuvants are toxic in their own right.”

       88.        Among various implications, the researchers conclude that “existing

toxicological data and risk assessments are not sufficient to infer that GBHs, as currently used, are

safe.” Further, “GBH-product formulations are more potent, or toxic, than glyphosate alone to a

wide array of non-target organisms including mammals, aquatic insects, and fish.” Accordingly,

“risk assessments of GBHs that are based on studies quantifying the impacts of glyphosate alone

underestimate both toxicity and exposure, and thus risk.” The paper concludes that this

“shortcoming has repeatedly led regulators to set inappropriately high exposure thresholds.”

       89.        The researchers also critique the current practice of regulators who largely rely

on “unpublished, non-peer reviewed data generated by the registrants” but ignore “published

research because it often uses standards and procedures to assess quality that are different from

those codified in regulatory agency data requirements, which largely focus on avoiding fraud.” In

the researchers’ view, “[s]cientists independent of the registrants should conduct regulatory tests

of GBHs that include glyphosate alone, as well as GBH product formulations.”

       90.        The researchers also call for greater inclusion of GBHs in government-led

toxicology testing programs:[A] fresh and independent examination of GBH toxicity should be

undertaken, and . . . this re-examination be accompanied by systematic efforts by relevant agencies

to monitor GBH levels in people and in the food supply, none of which are occurring today. The

U.S. National Toxicology Program should prioritize a thorough toxicological assessment of the

multiple pathways now identified as potentially vulnerable of GBHs.

       91.        The researchers suggest that, in order to fill the gap created by an absence of

government funds to support research on GBHs, regulators could adopt a system through which




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manufacturers fund the registration process and the necessary testing:

       “[W]e recommend that a system be put in place through which manufacturers of GBHs
       provide funds to the appropriate regulatory body as part or routine registration actions and
       fees. Such funds should then be transferred to appropriate government research institutes,
       or to an agency experienced in the award of competitive grants. In either case, funds would
       be made available to independent scientists to conduct the appropriate long-term (minimum
       2 years) safety studies in recognized animal model systems. A thorough and modern
       assessment of GBH toxicity will encompass potential endocrine disruption impacts on the
       gut microbiome, carcinogenicity, and multigenerational effects looking at reproductive
       capabilities and frequency of birth defects.”

       Plaintiff’s Exposure to Roundup®

       98.     From approximately 2008 to 2018, Mr. Webb worked as a Contractor Millwright

for a variety of facilities. As a Contractor Millwright, Mr. Webb had a variety of job duties

including, but not limited to, new installation, maintenance, and repair of facility equipment and

machinery, including but not limited to conveyer systems, rotating valves, and pumps.

       99.     The conveyor systems, valves, and pumps Mr. Webb repaired and maintained

conveyed Round Up Ready Corn and Corn Stover from storage silos into hammer mills where the

Round Up Ready Corn and Corn Stover was ground into a corn meal. The corn meal was then

conveyed to slurry tanks for conversion to a wet mixture called mash. From there, the corn mash

was pumped into fermentation tanks and then conveyed to distillation columns where the mash

was separated for further processing and conversion and then conveyed to the final ethanol

production and to final distillers’ grain production and used for livestock feed.

       100.    The conversion of the Round Up Ready Corn Mash to make livestock feed utilizes

a centrifuge to make a wet cake. The wet cake resembled a steaming, bright yellow sawdust that

Mr. Webb cold ball up in his hand.

       101.    The repair and maintenance work he performed on the conveyer systems, valves

and pumps frequently caused Mr. Webb to be covered in the Round Up Ready Corn and Corn




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Stover crop dust, corn meal, corn mash and corn wet cake. These Round Up Ready Corn by-

products would stick onto his clothes and hair and would coat the inside of his nose. This occurred

on a regular and frequent basis from approximately 2008 to 2018.

       102.     Mr. Webb worked for facilities owned and operated by Icon Industrial, Weitz

Industrial, Hayes Mechanical, Cargill Corn Milling Ethanol Plants, Pine Lake Corn Processors,

Valero Fuel Plants, Chief Ethanol; and Monsanto Corn Seed Processing Plant. Mr. Webb worked

as a Contractor Millwright in a variety of states, including Iowa, Nebraska, Texas, Minnesota,

Kansas, Indiana, Wisconsin, and Ohio. Specifically, Mr. Webb worked at Cargill Corn Milling

Ethanol Plants in Fort Dodge and Eddyville, Iowa; Pine Lake Corn Processors in Steamboat Rock,

Iowa; Valero Fuel Plants in Clarks Hill, Lafayette, Linden, and Mt. Vernon, Indiana; and Chief

Ethanol in Hastings, Nebraska; and the Monsanto Corn Seed Processing Plant in Grinnell, Iowa,

among others.

       103.     Additionally, Mr. Webb used Roundup products residentially for a number of years.

       104.     In 2016, Mr. Webb was diagnosed with non-Hodgkin’s Lymphoma. He received

treatment intermittently from 2016 to 2018. Recently, Mr. Webb’s condition has deteriorated

greatly with the failure of an experimental treatment plan his physicians prescribed him.

                                       DISCOVERY RULE

       105.     Plaintiff hereby pleads and invokes the “discovery rule” if necessary. Plaintiff will

show that after reasonably exercising due diligence, he did not learn the nature of the cause of his

cancer or that such cancer was chemically-related until less than the time periods provided by the

relevant statutes of limitations. Plaintiff also specifically invokes the federally required

commencement date as set forth in 42 U.S.C. § 9658.

       106.     Plaintiff had no way of knowing about the risk of serious illness associated with the




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use of and/or exposure to Roundup® and glyphosate. The earliest date one could have learned of

the link would have been after IARC released its formal assessment of glyphosate in July 2015.

This is the quintessential case for tolling.

        107.    Within the time period of any applicable statutes of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to Roundup® and

glyphosate is injurious to human health.

        108.    Plaintiff did not discover and did not know of facts that would cause a reasonable

person to suspect, the risks associated with the use of and/or exposure to Roundup® and

glyphosate; nor would a reasonable and diligent investigation by them have disclosed that

Roundup® and glyphosate would cause Mr. Webb’s illness.

        109.    For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’ claim.

    Fraudulent Concealment Tolling

        109.       All applicable statutes of limitations have also been tolled by Monsanto’s

knowing and active fraudulent concealment and denial of the facts alleged herein throughout the

time period relevant to this action.

        110.       Instead of disclosing critical safety information about Roundup® and

glyphosate, Monsanto has consistently and falsely represented the safety of its Roundup®

products.

     Estoppel

        111.       Monsanto was under a continuous duty to disclose to consumers, users and other

person coming into contact with its products, including Plaintiff, accurate safety information

concerning its products and the risks associated with the use of and/or exposure to Roundup® and




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glyphosate.

       112.        Instead, Monsanto knowingly, affirmatively, and actively concealed safety

information concerning Roundup® and glyphosate and the serious risks associated with the use of

and/or exposure to its products.

       113.        Based on the foregoing, Monsanto is estopped from relying on any statutes of

limitations in defense of this action.

                                              CLAIMS

                                             COUNT I
                                         STRICT LIABILITY
                                         (DESIGN DEFECT)

       114.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       115.    Plaintiff brings this strict liability claim against Monsanto for defective design.

       116.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, manufacturing, selling, distributing, and Monsanto engaged in the marketing,

packaging design, and promotion of Roundup® products, which are defective and unreasonably

dangerous to consumers, including Plaintiff, thereby placing Roundup® products into the stream

of commerce. These actions were under the ultimate control and supervision of Monsanto. At all

times relevant to this litigation, Monsanto designed, researched, developed, manufactured,

produced, tested, assembled, labeled, advertised, promoted, marketed, sold, and distributed the

Roundup® products used by Plaintiff, as described above.

       117.    At all times relevant to this litigation, Roundup® products were manufactured,

designed, and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous

for use by or exposure to the public, and, in particular, Plaintiff.




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       118.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Missouri and throughout the United States, including Plaintiff, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

       119.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, they

were unreasonably dangerous and dangerous to an extent beyond that which an ordinary consumer

would contemplate.

       120.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, the

foreseeable risks exceeded the alleged benefits associated with their design and formulation.

       121.    At all times relevant to this action, Monsanto knew or had reason to know that

Roundup® products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Monsanto. Therefore, at all times relevant to this litigation,

Roundup® products, as researched, tested, developed, designed, licensed, manufactured,

packaged, labeled, distributed, sold, and marketed by Monsanto were defective in design and

formulation, in one or more of the following ways:

                          a) When placed in the stream of commerce, Roundup® products were

                              defective in design and formulation, and, consequently, dangerous

                              to an extent beyond that which an ordinary consumer would

                              contemplate.




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                          b) When placed in the stream of commerce, Roundup® products were

                               unreasonably dangerous in that they were hazardous and posed a

                               grave risk of cancer and other serious illnesses when used in a

                               reasonably anticipated manner.

                          c)     When placed in the stream of commerce, Roundup® products

                               contained unreasonably dangerous design defects and were not

                               reasonably safe when used in a reasonably anticipated or intended

                               manner.

                          d) Monsanto did not sufficiently test, investigate, or study Roundup®

                               products and, specifically, the active ingredient glyphosate.

                          e)       Exposure to Roundup® and glyphosate-containing products

                               presents a risk of harmful side effects that outweigh any potential

                               utility stemming from the use of the herbicide.

                          f)    At the time of marketing its Roundup® products, Roundup® was

                               defective in that exposure to Roundup® and specifically, its active

                               ingredient glyphosate, could result in cancer and other severe

                               illnesses and injuries and/or death.

                          g) Monsanto did not conduct adequate post-marketing surveillance of

                               its Roundup® products.

                          h)     Monsanto could have employed safer alternative designs and

                               formulations.

       122.    Plaintiff was exposed to Roundup® products in the course of his work-related use,

as described above, without knowledge of their dangerous characteristics.




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       123.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Roundup® products in an intended or reasonably foreseeable manner without knowledge of

their dangerous characteristics.

       124.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

       125.    The harm caused by Roundup® products far outweighed their benefit, rendering

these products dangerous to an extent beyond that which an ordinary consumer would contemplate.

Roundup® products were and are more dangerous than alternative products and Monsanto could

have designed Roundup® products (including their packaging and sales aids) to make them less

dangerous. Indeed, at the time that Monsanto designed Roundup® products, the state of the

industry’s scientific knowledge was such that a less risky design or formulation was attainable.

       126.    At the time Roundup® products left Monsanto’s control, there was a practical,

technically feasible and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of those herbicides.

       127.    Monsanto’s defective design of Roundup® products was willful, wanton,

fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of

the Roundup® products, including Plaintiff herein.

       128.    Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Monsanto is strictly liable to Plaintiff.

       129.    The defects in Roundup® products caused or contributed to cause Plaintiff’ grave

injuries and/or death, and, but for Monsanto’s misconduct and omissions, Plaintiff would not have

sustained his injuries and/or death.

       130.    Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives




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of consumers and users of its products, including Plaintiff, with knowledge of the safety problems

associated with Roundup® and glyphosate-containing products, and suppressed this knowledge

from the general public. Monsanto made conscious decisions not to redesign, warn, or inform the

unsuspecting public. Monsanto’s reckless conduct warrants an award of aggravated damages.

       131.    As a direct and proximate result of Monsanto placing defective Roundup® products

into the stream of commerce, Plaintiff has suffered and continue to suffer grave injuries and/or

death, and have endured physical pain and discomfort, as well as economic hardship, including

considerable financial expenses for medical care and treatment.

                                          COUNT II
                                      STRICT LIABILITY
                                     (FAILURE TO WARN)

       132.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       133.    Plaintiff brings this strict liability claim against Monsanto for failure to warn.

       134.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiff,

because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and, specifically, the active ingredient glyphosate. These actions

were under the ultimate control and supervision of Monsanto.

       135.    Monsanto researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

Roundup® products, and in the course of same, directly advertised or marketed the products to

consumers and end users, including Plaintiff, and therefore had a duty to warn of the risks




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associated with the use of Roundup® and glyphosate-containing products.

       136.    At all times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that Roundup® products did

not cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

continuing duty to warn Plaintiff of the dangers associated with Roundup® use and exposure.

Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical herbicides is

held to the knowledge of an expert in the field.

       137.    At the time of manufacture, Monsanto could have provided the warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to such products.

       138.    At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

promote the safety or to minimize the dangers to users and consumers of its product and to those

who would foreseeably use or be harmed by these herbicides, including Plaintiff.

       139.    Despite the fact that Monsanto knew or should have known that Roundup® posed

a grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated

with use and exposure. The dangerous propensities of these products and the carcinogenic

characteristics of glyphosate, as described above, were known to Monsanto, or scientifically

knowable to Monsanto through appropriate research and testing by known methods, at the time it

distributed, marketed, promoted, supplied, or sold the product, and not known to end users and

consumers, such as Plaintiff.

       140.    These products created significant risks of serious bodily harm to consumers, as




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alleged herein, and Monsanto failed to adequately warn consumers and reasonably foreseeable

users of the risks of exposure to its products. Monsanto has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

       141.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Missouri and throughout the United States, including Plaintiff, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, promoted, and marketed by

Monsanto.

       142.    Plaintiff was exposed to Roundup® products in the course of his personal and/or

work-related use of Roundup®, without knowledge of its dangerous characteristics.

       143.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Roundup® products in their intended or reasonably foreseeable manner without knowledge of

their dangerous characteristics.

       144.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products prior to or at the time of Plaintiff’s exposure.

Plaintiff relied upon the skill, superior knowledge, and judgment of Monsanto.

       145.    These products were defective because the minimal warnings disseminated with

Roundup® products were inadequate, and they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended, and reasonably

foreseeable uses, including agricultural and landscaping applications.

       146.    The information that Monsanto did provide or communicate failed to contain




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relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiff

to utilize the products safely and with adequate protection. Instead, Monsanto disseminated

information that was inaccurate, false, and misleading and which failed to communicate accurately

or adequately the comparative severity, duration, and extent of the risk of injuries and/or death

with use of and/or exposure to Roundup® and glyphosate; continued to aggressively promote the

efficacy of its products, even after it knew or should have known of the unreasonable risks from

use or exposure; and concealed, downplayed, or otherwise suppressed, through aggressive

marketing and promotion, any information or research about the risks and dangers of exposure to

Roundup® and glyphosate.

       147.    To this day, Monsanto has failed to adequately and accurately warn of the true risks

of Plaintiff’ injuries and/or death associated with the use of and exposure to Roundup® and its

active ingredient glyphosate, a probable carcinogen.

       148.    As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Monsanto, were

distributed, marketed, and promoted by Monsanto, and used by Plaintiff in their personal and/or

work-related use.

       149.    Monsanto is liable to Plaintiff for injuries caused by its negligent or willful failure,

as described above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of these products and the risks associated with the use of or exposure

to Roundup® and glyphosate.

       150.    The defects in Roundup® products caused or contributed to cause Plaintiff’s

injuries, and, but for this misconduct and omissions, Plaintiff would not have sustained their

injuries and/or death. To this day, Monsanto has failed to adequately and accurately warn of the




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true risks of Plaintiff’s injuries and/or death associated with the use of and exposure to Roundup®

and its active ingredient glyphosate, a probable carcinogen.

                          a) As a result of their inadequate warnings, Roundup® products were

                               defective and unreasonably dangerous when they left the possession

                               and/or control of Monsanto, were distributed, marketed, and

                               promoted by Monsanto, and used by Plaintiff in their personal

                               and/or work-related use.

                          b) Monsanto is liable to Plaintiff for injuries and/or death caused by its

                               negligent or willful failure, as described above, to provide adequate

                               warnings or other clinically relevant information and data regarding

                               the appropriate use of these products and the risks associated with

                               the use of or exposure to Roundup® and glyphosate.

                          c)   The defects in Roundup® products caused or contributed to cause

                               Plaintiff’ injuries and/or death, and, but for this misconduct and

                               omissions, Plaintiff would not have sustained their injuries and/or

                               death.

                          d)    Had Monsanto provided adequate warnings and instructions and

                               properly disclosed and disseminated the risks associated with

                               Roundup® products, Plaintiff could have avoided the risk of

                               developing injuries and/or death as alleged herein.

                          e)    As a direct and proximate result of Monsanto placing defective

                               Roundup® products into the stream of commerce, Plaintiff have

                               suffered severe injuries and/or death and have endured physical pain




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                               and discomfort, as well as economic hardship, including

                               considerable financial expenses for medical care and treatment.

                                          COUNT III
                                        NEGLIGENCE
                                      FAILURE TO WARN

       151.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

       152.       Plaintiff bring this negligence claim against Defendant for failure to warn.

       153.       At all times relevant to this litigation, Defendant engaged in the business of

testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup® products, which are defective and unreasonably dangerous to consumers, including

Plaintiff, because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and specifically, the active ingredient glyphosate. These actions

were under the ultimate control and supervision of Defendant.

       154.       Defendant researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of

commerce its Roundup® products, and in the course of same, directly advertised or marketed the

products to consumers and end users, including Plaintiff, and Defendant therefore had a duty to

warn of the risks associated with the reasonably foreseeable uses (and misuses) of Roundup® and

glyphosate-containing products and a duty to instruct on the proper, safe use of these products.

       155.       At all times relevant to this litigation, Defendant had a duty to properly test,

develop, design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain

supply, provide proper warnings, and take such steps as necessary to ensure that its Roundup®

products did not cause users and consumers to suffer from unreasonable and dangerous risks.




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Defendant had a continuing duty to instruct on the proper, safe use of these products. Defendant,

as manufacturer, seller, or distributor of chemical herbicides, is held to the knowledge of an expert

in the field.

       156.      At the time of manufacture, Defendant could have provided warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to these products.

       157.      At all times relevant to this litigation, Defendant failed to investigate, study, test,

or promote the safety of its Roundup® products. Defendant also failed to minimize the dangers

to users and consumer of its Roundup® products and to those who would foreseeably use or be

harmed by Defendant’s herbicides, including Plaintiff.

       158.      Despite the fact that Defendant knew or should have known that Roundup®

products posed a grave risk of harm, it failed to warn of the dangerous risks associated with their

use and exposure. The dangerous propensities of its products and the carcinogenic characteristics

of glyphosate, as described above, were known to Defendant, or scientifically knowable to

Defendant through appropriate research and testing by known methods, at the time it distributed,

supplied, or sold the product, and not known to end users and consumers, such as Plaintiff.

       159.      Defendant knew or should have known that its Roundup® and glyphosate

containing products created significant risks of serious bodily harm to consumers, as alleged

herein, and Defendant failed to adequately warn consumers and reasonably foreseeable users of

the risks of exposure to these products. Defendant has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.




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      160.    At all times relevant to this litigation, Defendant’s Roundup® products reached the

intended consumers, handlers, and users or other persons coming into contact with these products

throughout the United States, including Plaintiff, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendant.

      161.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Defendant’s Roundup® products in their intended or reasonably foreseeable manner without

knowledge of their dangerous characteristics.

      162.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of Plaintiff’s exposure.

Plaintiff relied upon the skill, superior knowledge, and judgment of Defendant.

      163.    Defendant knew or should have known that the minimal warnings disseminated

with its Roundup® products were inadequate, but it failed to communicate adequate information

on the dangers and safe use/exposure and failed to communicate warnings and instructions that

were appropriate and adequate to render the products safe for their ordinary, intended, and

reasonably foreseeable uses, including agricultural and horticultural applications.

      164.    The information that Defendant did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled agricultural workers,

horticultural workers and/or at-home users to utilize the products safely and with adequate

protection. Instead, Defendant disseminated information that was inaccurate, false, and

misleading and which failed to communicate accurately or adequately the comparative severity,

duration, and extent of the risk of injuries associated with use of and/or exposure of Roundup®

and glyphosate; continued to aggressively promote the efficacy of its products, even after it knew

or should have known of the unreasonable risks from use or exposure; an concealed, downplayed,




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or otherwise suppressed, through aggressive marketing and promotion, any information or

research about the risks and dangers of exposure to Roundup® and glyphosate.

      165.        To this day, Defendant has failed to adequately and accurately warn of the true

risks of Plaintiff’s injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

      166.        As a result of their inadequate warnings, Defendant’s Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff.

      167.        Defendant is liable to Plaintiff for injuries caused by its failure, as described

above, to provide adequate warnings or other clinically relevant information and data regarding

the appropriate use of its Roundup® products and the risks associated with the use of or exposure

to Roundup® and glyphosate.

      168.        The defects in Defendant’s Roundup® products were substantial and

contributing factors in causing Plaintiff’s injuries, and, but for Defendant’s misconduct and

omissions, Plaintiff would not have sustained his injuries.

      169.        Had Defendant provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with its Roundup® products, Plaintiff could have

avoided the risk of developing injuries as alleged herein and Plaintiff could have obtained

alternative herbicides.

      170.        As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiff has suffered and continues to suffer severe

injuries, and has endured physical pain and discomfort, as well as economic hardship, including

considerable financial expenses for medical care and treatment. Plaintiff will continue to incur




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these expenses in the future.

                                          COUNT IV
                                         NEGLIGENCE

       171.    Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       172.    Monsanto, directly or indirectly, caused Roundup® products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiff.

       173.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of Roundup® products, including the duty to take all reasonable

steps necessary to manufacture, promote, and/or sell a product that was not unreasonably

dangerous to consumers and users of the product.

       174.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the marketing, advertisement, and sale of the Roundup® products. Monsanto’s duty of care

owed to consumers and the general public included providing accurate, true, and correct

information concerning the risks of using Roundup® and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup®, and, in particular, its

active ingredient glyphosate.

       175.    At all times relevant to this litigation, Monsanto knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically, the

carcinogenic properties of the chemical glyphosate.

       176.    Accordingly, at all times relevant to this litigation, Monsanto knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup® products

could cause or be associated with Plaintiff’ injuries and/or death and thus created a dangerous and



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unreasonable risk of injury to the users of these products, including Plaintiff.

       177.    Monsanto also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to Roundup® and glyphosate-containing products.

       178.    As such, Monsanto breached the duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Monsanto manufactured, marketed, promoted, and sold defective herbicides containing the

chemical glyphosate, knew or had reason to know of the defects inherent in these products, knew

or had reason to know that a user’s or consumer’s exposure to the products created a significant

risk of harm and unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks and injuries and/or death.

       179.    Despite an ability and means to investigate, study, and test these products and to

provide adequate warnings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully

concealed information and has further made false and/or misleading statements concerning the

safety and/or exposure to Roundup® and glyphosate.

       180.    Monsanto was negligent in the following respects:

                           a)       Manufacturing, producing, promoting, formulating, creating,

                                developing, designing, selling, and/or distributing its Roundup®

                                products without thorough and adequate pre- and post-market

                                testing;

                           b)      Manufacturing, producing, promoting, formulating, creating,

                                developing, designing, selling, and/or distributing Roundup® while




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                   negligently and/or intentionally concealing and failing to disclose

                   the results of trials, tests, and studies of exposure to glyphosate, and,

                   consequently, the risk of serious harm associated with human use of

                   and exposure to Roundup®;

              c)   Failing to undertake sufficient studies and conduct necessary tests

                   to determine whether or not Roundup® products and glyphosate-

                   containing products were safe for their intended use in agriculture

                   and horticulture;

              d) Failing to use reasonable and prudent care in the design, research,

                   manufacture, and development of Roundup® products so as to avoid

                   the risk of serious harm associated with the prevalent use of

                   Roundup®/glyphosate as an herbicide;

              e)    Failing to design and manufacture Roundup® products so as to

                   ensure they were at least as safe and effective as other herbicides on

                   the market;

              f)     Failing to provide adequate instructions, guidelines, and safety

                   precautions to those persons who Monsanto could reasonably

                   foresee would use and be exposed to its Roundup® products;

              g)    Failing to disclose to Plaintiff, users/consumers, and the general

                   public that use of and exposure to Roundup® presented severe risks

                   of cancer and other grave illnesses;

              h) Failing to warn Plaintiff, users/consumers, and the general public

                   that the product’s risk of harm was unreasonable and that there were




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                       safer and effective alternative herbicides available to Plaintiff and

                       other consumers;

                  i) Systematically suppressing or downplaying contrary evidence about

                       the risks, incidence, and prevalence of the side effects of Roundup®

                       and glyphosate-containing products;

                  j)      Representing that its Roundup® products were safe for their

                       intended use when, in fact, Monsanto knew or should have known

                       that the products were not safe for their intended purpose;

                  k) Declining to make or propose any changes to Roundup® products’

                       labeling or other promotional materials that would alert the

                       consumers and the general public of the risks of Roundup® and

                       glyphosate;

                  l)       Advertising, marketing, and recommending the use of the

                       Roundup® products, while concealing and failing to disclose or

                       warn of the dangers known by Monsanto to be associated with or

                       caused by the use of or exposure to Roundup® and glyphosate;

                  m) Continuing to disseminate information to its consumers, which

                       indicate or imply that Monsanto’s Roundup® products are not

                       unsafe for use in the agricultural and horticultural industries; and

                  n)     Continuing the manufacture and sale of its products with the

                       knowledge that the products were unreasonably unsafe and

                       dangerous.

181.    Monsanto knew and/or should have known that it was foreseeable that consumers




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such as Plaintiff would suffer injuries and/or death as a result of Monsanto’s failure to exercise

ordinary care in the manufacturing, marketing, promotion, labeling, distribution, and sale of

Roundup®.

       182.      Plaintiff did not know the nature and extent of the injuries and/or death that could

result from the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       183.      Monsanto’s negligence was the proximate cause of the injuries and/or death, harm,

and economic losses that Plaintiff suffered, as described herein.

       184.      Monsanto’s conduct, as described above, was reckless. Monsanto regularly risked

the lives of consumers and users of its products, including Plaintiff, with full knowledge of the

dangers of these products. Monsanto has made conscious decisions not to redesign, re-label, warn,

or inform the unsuspecting public, including Plaintiff. Monsanto’s reckless conduct therefore

warrants an award of aggravated or punitive damages.

       185.      As a proximate result of Monsanto’s wrongful acts and omissions in placing

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiff have suffered severe and permanent

physical and emotional injuries. Plaintiff have endured pain and suffering and has suffered

economic losses (including significant expenses for medical care and treatment) in an amount to

be determined.

                                       COUNT V
                             BREACH OF EXPRESS WARRANTY

       188.      Plaintiff re-alleges the preceding paragraphs as if fully set forth herein.

       187.      At all times relevant to this litigation, Defendant engaged in the business of

testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting its

Roundup® products, which are defective and unreasonably dangerous to consumers, including



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Plaintiff, thereby placing Roundup® products into the stream of commerce. These actions were

under the ultimate control and supervision of Defendant, and their Roundup® products were

expected to, and did, reach Plaintiff without any substantial change in their condition.

       188.    At all times relevant to this litigation, Defendant expressly represented and

warranted to the purchasers of its Roundup® products, by and through statements made by

Defendant in labels, publications, package insert, and other written materials intended for

consumers and the general public, that its Roundup® products were safe to human health and

the environment, effective, fit, and proper for their intended use. Defendant advertised, labeled,

marketed, and promoted Roundup® products, representing the quality to consumers and the

public in such a way as to induce their purchase or use, thereby making an express warranty that

its Roundup® products would conform to the representations.

       189.    These express representations included incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

Roundup® and glyphosate. Defendant knew or should have known that the risks expressly

included in Roundup® warnings and labels did not and do not accurately and adequately set forth

the risks of developing the serious injuries complained of herein. Nevertheless, Defendant

expressly represented that its Roundup® products were safe and effective, that they were safe

and effective for use by individuals such as Plaintiff, and/or that they were safe and effective as

agricultural herbicides.

       190.    The representations about Roundup®, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods and

became part of the basis of the bargain, creating an express warranty that the goods would

conform to the representations.




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       191.    Defendant placed its Roundup® products into the stream of commerce for sale

and recommended their use to consumers and the public without adequately warning of the true

risks of developing the injuries associated with the use of and exposure to Roundup® and its

active ingredient glyphosate.

       192.    Defendant breached these warranties because, among other things, its Roundup®

products were defective, dangerous, unfit for use, did not contain labels representing the true and

adequate nature of the risk associated with their use, and were not merchantable or safe for their

intended, ordinary, and foreseeable use and purpose. Specifically, Defendant breached the

warranties in the following ways:

               a. Defendant represented through its labeling, advertising, and marketing
               materials that its Roundup® products were safe, and fraudulently withheld
               and concealed information about the risks of serious injury associated with
               use of and/or exposure to Roundup® and glyphosate by expressly limiting
               the risks associated with use and/or exposure within its warnings and labels;
               and

               b. Defendant represented that its Roundup® products were safe for use
               and fraudulently concealed information that demonstrated that glyphosate,
               the active ingredient in Roundup®, had carcinogenic properties, and that its
               Roundup® products, therefore, were not safer than alternatives available on
               the market.

       193.    Defendant has sole access to material facts concerning the nature of risks

associated with its Roundup® products as expressly stated within its warnings and labels, and

Defendant knew that consumers and users such as Plaintiff could not have reasonably discovered

that the risks expressly included in Roundup® warnings and labels were inadequate and

inaccurate.

       194.         Plaintiff had no knowledge of the falsity or incompleteness of Defendant's

statements and representations concerning Roundup®, and he relied to his detriment on these

statements and representations.



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        195.         Plaintiff used and/or was exposed to the use of Roundup® as researched,

developed, designed, tested, formulated, manufactured, inspected, labeled, distributed,

packaged, marketed, promoted, sold, or otherwise released into the stream of commerce by

Defendant.

        196.         Had the warning and labels for Roundup® products accurately and

adequately set forth the true risks associated with the use of such products, including Plaintiff’s

injuries, rather than expressly excluding such information and warranting that the products were

safe for their intended use, Plaintiff could have avoided the injuries complained of herein.

        197.        As a direct and proximate result of Defendant’s wrongful acts and omissions,

Plaintiff developed NHL and suffered injuries that are permanent and lasting in nature, physical

pain and mental anguish, including diminished enjoyment of life, as well as economic hardship,

including financial expenses for medical care and treatment.

                                  COUNT VI
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        198.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

        199.       Upon information and belief, at all times relevant to this litigation, Defendant

engaged in the business of testing, developing, designing, formulating, manufacturing, marketing,

selling, distributing, and promoting its Roundup® products, which are defective and unreasonably

dangerous to users and consumers, including Plaintiff, thereby placing Roundup® products into

the stream of commerce.

        200.       These actions were under the ultimate control and supervision of Defendant.

        201.       Before the time that Plaintiff was exposed to the use of the aforementioned

Roundup® products, Defendant impliedly warranted to its consumers and users, including



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Plaintiff, that its Roundup® products were of merchantable quality and safe and fit for the use for

which they were intended; specifically, as horticultural herbicides.

        202.        Defendant, however, failed to disclose that Roundup® has dangerous

propensities when used as intended and that the use of and/or exposure to Roundup® and

glyphosate containing products carries an increased risk of developing severe injuries, including

Plaintiff’s injuries.

        203.        Upon information and belief, Plaintiff reasonably relied upon the skill, superior

knowledge and judgment of Defendant and upon its implied warranties that the Roundup®

products were of merchantable quality and fit for their intended purpose or use.

        204.        The Roundup® products were expected to reach and did in fact reach consumers

and users, including Plaintiff, without substantial change in the condition in which they were

manufactured and sold by Defendant. At all times relevant to this litigation, Defendant was aware

that consumers and users of its products, including Plaintiff, would use Roundup® products as

marketed by Defendant, which is to say that Plaintiff were the foreseeable users of Roundup®.

        205.        Defendant intended that its Roundup® products be used in the manner in which

Plaintiff in fact used them and Defendant impliedly warranted each product to be of merchantable

quality, safe, and fit for this use, despite the fact that Roundup® was not adequately tested or

researched.

        206.        In reliance upon Defendant’s implied warranty, Plaintiff used Roundup® as

instructed and labeled and in the foreseeable manner intended, recommended, promoted and

marketed by Defendant.

        207.        Plaintiff could not have reasonably discovered or known of the risks of serious

injury associated with Roundup® or glyphosate.




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       208.       Defendant breached its implied warranty to Plaintiff in that its Roundup®

products were not of merchantable quality, safe, or fit for their intended use, or adequately tested.

Roundup® has dangerous propensities when used as intended and can cause serious injuries,

including those injuries complained of herein.

       209.       The harm caused by Defendant’s Roundup® products far outweighed their

benefit, rendering the products more dangerous than an ordinary consumer or user would expect

and more dangerous than alternative products.

       210.       As a direct and proximate result of Defendant’s wrongful acts and omissions

Plaintiff has suffered severe and permanent physical and emotional injuries. Plaintiff has endured

pain and suffering, has suffered economic loss (including significant expenses for medical care

and treatment) and will continue to incur these expenses in the future.

                            COUNT VII UNFAIR AND DECEPTIVE
                                   TRADE PRACTICES

       211.         Plaintiff re-alleges the preceding paragraphs as if fully set forth herein. Upon

information and belief, by reason of its conduct as alleged herein, Defendant violated the

provisions of Iowa Consumer Frauds Act, Iowa Code § 714H.1, et. seq (“the Act”) by inducing

Plaintiff to use Roundup® through the use of false and/or misleading advertising, representations

and statements.

       212.    By engaging in the conduct described herein, Defendants violated the Act by,

among other things:

               a. engaging in unfair or deceptive trade practices as defined in this statute
               by making false and misleading oral and written statements that had the
               capacity, tendency, or effect of deceiving or misleading consumers.

               b. engaging in unfair or deceptive trade practices as defined in this statute
               by making representations that its products had an approval, characteristic,
               ingredient, use or benefit which they did not have, including but not limited



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               to statements concerning the health consequences of the use of Roundup®.

               c. engaging in unfair or deceptive trade practices as defined in this statute
               by failing to state material facts, the omission of which deceived or tended
               to deceive, including but not limited to facts relating to the health
               consequences of the use of Roundup®.

               d. engaging in unfair or deceptive trade practices as defined in this statute
               through deception, fraud, misrepresentation and knowing concealment,
               suppression and omission of material facts with the intent that consumers
               rely upon the same in connection with the use and continued use of
               Roundup®.

       214.    As a direct and proximate result of Defendant's violations of the Act, Plaintiff

developed NHL and suffered injuries that are permanent and lasting in nature, physical pain and

mental anguish, including diminished enjoyment of life, as well as economic hardship, including

financial expenses for medical care and treatment.

                                           COUNT VIII
                                             FRAUD

       215.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       216.    Monsanto has defrauded the agricultural and gardening communities in general and

Plaintiff in particular by misrepresenting the true safety of Roundup® and by failing to disclose

known risks of cancer.

       217.    Monsanto misrepresented and/or failed to disclose, inter alia, that: glyphosate and

its major metabolite aminomethylphosphonic acid (“AMPA”) could cause cancer; glyphosate and

AMPA are known to be genotoxic in humans and laboratory animals because exposure is known

to cause DNA strand breaks (a precursor to cancer); glyphosate and AMPA are known to induce

oxidative stress in humans and laboratory animals (a precursor to cancer); glyphosate and AMPA

interfere with the aromatic amino acids within the human gut, leading to downstream health




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conditions including cancer; exposure to glyphosate and AMPA is causally associated with NHL;

and the laboratory tests attesting to the safety of glyphosate were flawed and/or fraudulent.

       218.      Due to these misrepresentations and omissions, at all times relevant to this

litigation, Roundup® was misbranded under 7 U.S.C. § 136(g) and its distribution within the State

of Iowa and around the United States was a violation of 7 U.S.C. § 136(j) and 40 C.F.R.

§156.10(a)(5).

       219.      When Plaintiff used Roundup® from approximately 1995 through to approximately

2019, neither the labeling on the product nor Monsanto’s general promotion warned or disclosed

the true safety risks of Roundup® or that the product could cause cancer, as described above. Since

the true risk information was known to Monsanto and was not reasonably knowable to reasonable

consumers, Plaintiff was unaware of these material facts and/or omissions prior to using the

product.

       220.      Plaintiff relied on Monsanto’s misrepresentations and/or material omissions

regarding the safety of Roundup® and its active ingredient glyphosate in deciding whether to use

the product. Plaintiff did not know, nor could he reasonably have known, of the misrepresentations

and/or material omissions by Monsanto concerning Roundup® and its active ingredient

glyphosate.

       221.      The misrepresentations and/or material omissions that form the basis of this fraud

claim is not limited to statements made on the Roundup® labeling, as defined under federal law,

but also involve Monsanto’s representations and omissions made as part of its promotion and

marketing of Roundup®, including on the internet, television, in print advertisements, etc. Nothing

prevented Monsanto from disclosing the truth about the risks associated with Roundup® in its

promotional efforts outside of the labeling context, using the forms of media and promotion




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Monsanto traditionally used to promote the product’s efficacy and benefits.

        222.    When Monsanto made the misrepresentations and/or omissions as alleged in this

pleading, it did so with the intent of defrauding and deceiving the public in general and with the

intent of inducing the public to purchase and use Roundup®.

        223.    Monsanto made these misrepresentations and/or material omissions with

malicious, fraudulent, and/or oppressive intent toward Plaintiff and the public generally.

Monsanto’s conduct was willful, wanton, and/or reckless. Monsanto deliberately manufactured,

produced, marketed, sold, distributed, merchandized, packaged, promoted and advertised the

dangerous and defective herbicide Roundup®. This constitutes an utter, wanton, and conscious

disregard of the rights and safety of a large segment of the public including Plaintiff, and by

reason thereof, Monsanto, is liable for reckless, willful, and wanton acts and omissions which

evidence a total and conscious disregard for the safety of Plaintiff and others which proximately

caused the injuries as set forth herein.

        224.    Plaintiff suffered grave injuries as a proximate result of Monsanto’s fraudulent and

deceitful conduct, advertisements, and representations.

                                         COUNT IX
                                     PREMESIS LIABILITY

        225.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

        226.    In Iowa, property owners must exercise reasonable care to ensure the safety of those

persons who enter their property.

        227.    The Premises Defendants here breached that duty of care in at least the following

ways:

                a. Failing to maintain a safe condition on their properties;



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               b. Failing to eliminate known or reasonably knowable hazards;

               c. Failing to eliminate known or reasonably knowable unsafe conditions;

               d. Failing to exercise reasonable care in the maintenance of their premises;

               e. Failing to warn of the dangerous condition.

       228.    At all relevant times, Mr. Webb was a lawful visitor upon the Premises Defendants’

properties. His injuries as a result of his consistent and concentrated exposure to the various

Roundup Products was foreseeable, especially considering Mr. Webb was specifically there to

handle Roundup contaminated machinery. At all relevant times, Mr. Webb entered the Premises

Defendants’ premises in an appropriate time and manner and under appropriate circumstances.

Further, he occupied areas he was expected to occupy.

       229.    It would not have been burdensome upon the Premises Defendants or unreasonable

in any way to require them to repair, correct, or warn of the danger presented by the Roundup

products.

       230.    Based upon information and belief, the Premises Defendants knew or should have

known of the danger Roundup presented to his property; knew or reasonably should have known

that the victim—Mr. Webb—would not know about the risk, wouldn’t realize its dangers, or would

not be able to protect themselves.

       231.    The Premises Defendants failed to protect Mr. Webb from a known risk and that

failure directly resulted in Mr. Webb’s injuries.

                              PUNITIVE DAMAGES ALLEGATIONS

       232.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       233.    Defendants’ conduct as alleged herein was done with oppression, fraud, and malice.

Monsanto was fully aware of Roundup®’s safety risks. Nonetheless, Monsanto deliberately


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crafted its label, marketing, and promotion to mislead farmers and consumers.

        234.    This was not done by accident or through some justifiable negligence. Rather,

Monsanto knew that it could turn a profit by convincing the agricultural industry and the general

population that Roundup® was harmless to humans, and that full disclosure of Roundup®’s true

risks would limit the amount of money Monsanto would make selling Roundup® in the State of

Iowa. This was accomplished not only through its misleading, deceptive, fraudulent and unfair

labeling, but also through a comprehensive scheme of selective fraudulent research and testing,

misleading advertising, and deceptive omissions as more fully alleged throughout this pleading.

Plaintiff was robbed of his right to make an informed decision about whether to use an herbicide,

knowing the full risks attendant to that use. Such conduct was done with conscious disregard of

Plaintiff’s rights.

        235.    There is no indication that Monsanto will stop its deceptive, unfair, fraudulent,

misleading and unlawful marketing practices unless it is punished and deterred. Accordingly,

Plaintiff requests punitive damages against Monsanto for the harms caused to Plaintiff.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of

Plaintiff and against Defendant as set forth above, that Plaintiff be awarded compensatory and

punitive damages, interest, costs and attorney’s fees, and for such other and further relief as the

Court may deem just.

                                        JURY DEMAND

    236.        PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS.




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                       Respectfully submitted,

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